     Case 2:09-cv-05298-VBF-PJW Document 44 Filed 08/10/10 Page 1 of 1 Page ID #:286



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 8                                   UNITED STATES DISTRICT COURT
 9                                  CENTRAL DISTRICT OF CALIFORNIA
10    DARRYL A. CARTER,                         )   CASE NO. CV 09-5298-VBF (PJW)
                                                )
11                          Plaintiff,          )
                                                )   ORDER ACCEPTING REPORT AND
12                   v.                         )   ADOPTING FINDINGS, CONCLUSIONS,
                                                )   AND RECOMMENDATIONS OF UNITED
13    J.L. NORWOOD,                             )   STATES MAGISTRATE JUDGE
                                                )
14                          Defendant.          )
                                                )
15
16           Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition,
17    the records on file, and the Report and Recommendation of United
18    States Magistrate Judge.           The Court has also reviewed de novo those
19    portions of the Report to which Petitioner has filed objections.              The
20    Court accepts the Magistrate Judge’s Report and adopts it as its own
21    findings and conclusions.
22
23           DATED:                 8-10-10     .
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                                              VALERIE B. FAIRBANK
26                                            UNITED STATES DISTRICT JUDGE
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